Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 1 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 2 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 3 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 4 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 5 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 6 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 7 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 8 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 9 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 10 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 11 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 12 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 13 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 14 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 15 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 16 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 17 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 18 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 19 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 20 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 21 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 22 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 23 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 24 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 25 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 26 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 27 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 28 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 29 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 30 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 31 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 32 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 33 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 34 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 35 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 36 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 37 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 38 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 39 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 40 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 41 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 42 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 43 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 44 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 45 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 46 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 47 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 48 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 49 of 93
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                           Document Page 50 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 51 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 52 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 53 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 54 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 55 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 56 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 57 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 58 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 59 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 60 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 61 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 62 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 63 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 64 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 65 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 66 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 67 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 68 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 69 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 70 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 71 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 72 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 73 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 74 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 75 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 76 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 77 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 78 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 79 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 80 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 81 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 82 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 83 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 84 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 85 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 86 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 87 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 88 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 89 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 90 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 91 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 92 of 93
Case:18-05288-ESL11 Doc#:107 Filed:02/08/19 Entered:02/08/19 11:02:49   Desc: Main
                           Document Page 93 of 93
